
*489OPINION.
Smith:
1. The assignments of error numbered (1) and (5) are based upon alleged underestimates of the fair market value of depreciable properties on March 1,1913, and of erroneous classifications of depreciable assets and of erroneous rates applicable to each . These questions have all been settled in the decision of the Board in Chicago Railway Equipment Co., Docket No. 3964, 13 B. T. A. 471. Adjustments of depreciation for the years 1920 and 1921 should be made in accordance with the basic values, classifications and rates approved for the determination of deficiencies for the years 1917, 1918, and 1919, as above decided.
2. The second assignment of error is that the respondent has erroneously added the sum of $8,693.99 to the taxable net income of the petitioner for the year 1920 on account of alleged profit realized from the sale of its Detroit plant. The petitioner’s contentions upon this point are sustained.
3. The third and fourth assignments of error relate to the determination of invested capital for the years 1920 and 1921. Respondent admits error in computing the 1919 income and profits taxes prorated from the petitioner’s invested capital for the year 1920. Other allegations of error with respect to the computation of invested capital are mere accounting matters which will be disposed of in the settlement of correct deficiencies, if any, for 1920 and 1921, in the settlement under Rule 50. The adjustment of taxes should be made in accordance with section 1207 of the Revenue Act of 1926.
Reviewed by the Board.

Judgment will be entered under Rule 50.

